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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS

GROUPON, INC.,                            )
                                          )
                  Plaintiff,              ) Case No. 1:21-cv-06082
                                          )
   v.                                     ) Honorable Judge Charles P. Kocoras
                                          )
SUNG SHIN,                                )
                                          )
                 Defendant.               )

    DEFENDANT SUNG SHIN’S RESPONSE IN OPPOSITION TO PLAINTIFF
 GROUPON’S EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
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                                         I.       INTRODUCTION

        Plaintiff Groupon, Inc.’s (“Groupon”) Motion for an Emergency Temporary Restraining

Order prohibiting Defendant from working at his new job meets none of the requirements for

issuance of this extraordinary relief and the TRO currently in place should be vacated. The

restrictive covenant agreement at issue in this case is invalid and unenforceable in its entirety

under Washington Law, as Defendant Sung Shin (“Mr. Shin”) explains in his pending Motion to

Dismiss. 1 This means that Groupon has no likelihood of success on the merits of his claim, and

on that basis alone the Court should reject the injunctive relief Groupon seeks. Nor is there any

factual basis on which to permit any injunction. The job that Mr. Shin had at Groupon is not the

same as the job he accepted at Yelp. The titles are different, the departments are different, and

the functions do not overlap. Groupon’s fanciful claims otherwise cannot be credited – they are

a compendium of speculation and nothing more. This is a second reason why Groupon has no

likelihood of success on the merits, and it also means that Groupon cannot show that it will

suffer irreparable harm if Mr. Shin is permitted to earn a living in his new job at Yelp.

        This especially is so since Groupon knows that Mr. Shin took no confidential or

proprietary information with him when he left his job there. Groupon does not allege that he

took any propriety information, because he didn’t.                 Rather, Groupon relies once again on

speculation – that Mr. Shin somehow inevitably will disclose information he has in his head from

his seven months of working at Groupon when he goes to Yelp.                          But, as detailed in the

Declaration Yelp’s Chief Product Officer, Vivek Patel, the business models of Groupon and

Yelp are so different that the two companies cannot reasonably be considered competitors. His

new job at Yelp is as Vice President of Product Management—a product-focused development

role—whereas his job at Groupon was managing advertising business operations and driving

revenue.


1
 Defendant incorporates by reference his arguments in support of his Motion to Dismiss or Alternatively to Transfer
Venue and the facts set forth in that motion. Docket Nos. 12-16.




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        Furthermore, Mr. Shin provided Groupon with a sworn Declaration attesting to the fact

that he had no Groupon propriety information and would not use any confidential information in

his current position. Yelp has made clear to both Groupon and Mr. Shin that it has no interest in

any Groupon confidential information. And in an effort to resolve any issues Groupon might

have, Yelp’s counsel asked Groupon to identify categories of information it was concerned about

so that Yelp could make sure Mr. Shin would not be influenced by any such information in his

new position. Rather than engage in a good-faith effort to work out its differences, Groupon

raced into court and presented a one-sided and ultimately false picture of the situation to obtain a

TRO. Remarkably, given the claims in the Complaint, Groupon never cut Mr. Shin off from its

systems after his two-week notice period, refused to negotiate any potential terms with Yelp or

Mr. Shin, failed to tell this Court about Yelp’s and Shin’s efforts to assuage its concerns, and

filed a lawsuit and a TRO motion without warning – an act of gamesmanship rather than any

good faith belief that its interests were in deep peril.

        There is no emergency. 2         Groupon has identified no irreparable injury beyond its

speculations and fancy. The company has identified no proprietary materials that have been

taken or accessed by Mr. Shin. And there is absolutely no evidence at all establishing a

probability of success on the claim that Mr. Shin has violated his employment contract or will

inevitably violate the Defend Trade Secrets Act (DTSA). Mr. Shin had the legal right to take the

Yelp job, and the facts show that his performing this non-overlapping job will not result in any

competitive harm to Groupon. Even in Illinois, an employer must show such overlap to enforce

a non-compete provision like the one in this case. Groupon cannot do that, and for this reason,

too, the TRO should be vacated.

        Defendant has filed a Motion to Dismiss based upon lack of personal jurisdiction and

2
  Groupon sought an extraordinary remedy on an ex parte basis. Mr. Shin gave Groupon two weeks’ notice of his
intent to depart and begin his new role at Yelp. Groupon then waited 15 days before it filed its motion for an
Emergency Temporary Restraining Order (“TRO”), and another 2 days before serving it on defense counsel. (Dkt.
No. 6.) Groupon served the motion for TRO on the evening of Sunday, November 14, 2021, the day before
Defendant began his new position at Yelp. The company’s delay is telling.




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alternatively has requested that this Court transfer venue to the Western District of Washington.

If this Court must reach the merits of Plaintiff’s Motion for TRO, whether the claims are

analyzed properly under Washington law or under Illinois law, Groupon’s motion for injunctive

relief must be denied.

       Defendant submits as Exhibits in Support of this Memorandum in Opposition to

Plaintiff’s Motion for Temporary Restraining Order:

       A. Declaration of Sung Shin;

       B. Declaration of Jesse Wing;

       C. Declaration of Vivek Patel; and

       D. Declaration of Senior Corporate Counsel of Yelp, James Daire.

       Mr. Shin respectfully requests this Court to vacate its Order granting Groupon’s TRO.
                               II.     STATEMENT OF FACTS

       Sung Shin began his employment with Groupon just seven months ago, on March 23,

2021. His title at Groupon was Vice President, Global Head of Advertising and Ancillary

Revenue. At the time he started working at Groupon, he had over 25 years of experience in

advertising, marketing, sales, and product management. (Shin Declaration ¶ 3.) Mr. Shin’s role

at Groupon was as General Manager of the advertising business, managing business operations.

In contrast, Groupon’s Product and Technology Department (analogous to the group he is

joining at Yelp) resided in an entirely separate unit—Groupon’s Technology organization—

under completely different leadership. (Shin Declaration ¶ 12.)

       Mr. Shin had no technical responsibilities at Groupon. Indeed, Mr. Shin believes he

never saw a technical design document while working at Groupon. (Shin Declaration ¶ 13.) As

stated in his Declaration and in the Sworn Statement he provided to Groupon, Mr. Shin did not

take and has not used any proprietary information or trade secrets of Groupon. (See id. at ¶¶ 6,

10, 13-24, 32; see also Daire Declaration at ¶ 7.)

       After seven months at Groupon, Mr. Shin realized that the job was not a good fit for him.

He found a job at Yelp and gave Groupon his two weeks’ notice that he would be leaving his job



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and taking a totally different position at Yelp. Out of an overabundance of caution, Mr. Shin

removed all information related to Groupon from his personal devices before starting at Yelp and

took no confidential or other documents, files, or information about Groupon with him. (Shin

Declaration ¶ 15.) Mr. Shin has given those assurances to Groupon. (See id. at ¶ 24.) In

addition, contrary to the allegation in the Complaint, Mr. Shin has fully repaid the signing bonus

he received when joining Groupon. (See id. at ¶ 31.)

       The job that the Defendant took and began at Yelp before the TRO issued is in a product

development role: he is Yelp’s Vice President of Product Management, Multi-Loc (which means

multiple location). He leads development of new Yelp products like Yelp Store Visits (a

technically complex machine learning product) and Yelp Audiences (Yelp’s multi-platform

advertising platform).   (See id. at ¶¶ 11, 12; Patel Declaration at ¶¶ 16-18.) It is not an

advertising business operations role, which is what he performed at Groupon. (See id. at ¶¶ 11,

12; see also Patel Declaration at ¶¶ 16-18.)           There is no comparable department or

responsibilities at Groupon. (Shin Declaration at ¶¶ 11, 12.) Nothing particular to Mr. Shin’s

job at Groupon is transferable to Mr. Shin’s job at Yelp. (See id. at ¶ 12(b).)

       Yelp, as a responsible employer, took steps to ensure that Mr. Shin would not bring or

use any Groupon confidential information in his new job – starting with the knowledge that the

jobs at Yelp would not overlap with what Shin did at Groupon. As detailed in the Declaration of

Vivek Patel, Yelp’s Chief Product Officer of Yelp (and Mr. Shin’s new supervisor), Yelp is not a

competitor of Groupon. (Patel Declaration at ¶¶ 10-20.) Yelp is an open platform for consumer

reviews and business information whereas Groupon is a deal site. Id. The material differences

between the companies are discussed below. See infra page 10 (“(c) Differences Between the

Companies”).

       Yelp also required Mr. Shin to sign a sworn declaration reminding him of Yelp’s policies

that prohibit improper use or disclosure of information of prior employers. Likewise, Mr. Shin

provided the same assurances to Yelp that he did to Groupon, that he did not possess any




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proprietary information and would not share any confidential information. (Daire Declaration at

¶ 7.)

        In response to a letter from Groupon to Mr. Shin on November 3, 2021, Yelp’s in-house

counsel, James Daire, explained that Yelp has no interest in any alleged Groupon confidential

information, and asked Groupon to identify any such information (by file name or other means)

so that Yelp could evaluate whether any further protective steps should be taken before Mr. Shin

started at Yelp. (Daire Declaration at ¶ 3.) Groupon’s counsel did not reply to this request, so

Mr. Daire sent a follow-up email. (See id. at ¶ 5.) On November 11, 2021, counsel for Groupon

said he would call Mr. Daire to discuss this further. (See id.) He did not. (See id. at ¶ 6.)

Instead, without warning and with no recognition that both Mr. Shin and Yelp were trying to

engage in a dialogue to assuage Groupon’s concerns, Plaintiff rushed into court and filed its

Motion for a TRO.

        As Defendant explained in his motion to dismiss, this entire case violates the statutory

law of Washington State. It is hard to fathom why Groupon is behaving unreasonably – it is not

because there is any legitimate risk of harm to that company.          Mr. Shin, as a citizen of

Washington State, has the right to the protections of that state’s clear and compelling law. The

TRO must be vacated since Plaintiff does not come close to satisfying any of the elements

necessary for issuance of a temporary injunction.

                                      III.   ARGUMENT

A.      Groupon Failed to Meet Its Burden for a TRO

        A preliminary injunction is “an extraordinary remedy that may only be awarded upon a

clear showing that the plaintiff is entitled to such relief.” Winter v. National Resources Defense

Council, 555 U.S. 7, 24 (2008). A party seeking a preliminary injunction must satisfy three

elements: (1) it is likely to succeed on the merits of its claims; (2) it does not have an adequate

remedy at law; and (3) the harm that will result if the injunction does not issue will be

irreparable. Incredible Technologies, Inc. v. Virtual Technologies, Inc., 400 F.3d 1007, 1011

(7th Cir. 2005). Groupon bears the burden to establish each of these three elements. Then, this



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Court must then examine whether the harm to the party seeking the relief outweighs that to the

potentially enjoined party if the injunction were to issue. Id.

       Here, Groupon must also prove that this is an emergency that demands that Mr. Shin—

who is a current Yelp employee and was working for Yelp at the time of the TRO (he has not

worked for Yelp since he learned of the TRO)—be barred from working in his chosen field for

his chosen employer. (See Dkt. No. 14 at p. 22 of 23) (“A temporary restraining order, as

opposed to a preliminary injunction, is sought and heard on an emergency basis. . . to preserve

the status quo pending the complete briefing and consideration of a motion for a preliminary

injunction.” (citing Faust v. Vilsack, 519 F.Supp.3d 470, 474 (E.D. Wis. June 10, 2021) citing

Geneva Assurance Syndicate, Inc. v. Med. Emergency Servs. Assocs., 964 F.2d 599, 600 (7th Cir.

1992))). Groupon’s Motion fails in every respect.

       A TRO is an extraordinary remedy, so the party seeking it has to satisfy a high burden

through well-pled facts showing entitlement to that relief. McMann v. Pucinski, 218 Ill. App.3d

101, 108, 161 Ill. Dec. 22, 28 (1991). This requires allegations supported by specific facts.

Patrick Engineering, Inc. v. City of Naperville, 976 N.E.2d 318, 328, 364 Ill. Dec. 40, 50 (2012).

Illinois courts have denied requests for a TRO where the plaintiff presented only vague, non-

specific allegations. See, e.g., Bridgeview Bank Grp. v. Meyer, 2016 IL App (1st) 160042, ¶¶ 14-

15, 49 N.E.3d 916, 920–21 (“we note that there are virtually no well-pled facts in Bridgeview’s

complaint regarding information Meyer allegedly took with him or customers he solicited after

he left. Rather, the complaint is replete with nonspecific and conclusory allegations.”). In an

analogous case, the court held that the plaintiff’s claims of “unique marketing strategies” was

simply too vague, and denied a TRO, in part for this reason. Id. (“For example, Bridgeview

alleged that it had developed ‘unique marketing strategies, processes and information’ without

ever describing, even generally, the nature of those strategies, processes or information or what

made them ‘unique’ in the banking industry.”).

       Like all forms of injunctive relief, a temporary restraining order is “an extraordinary

remedy that should not be granted unless the movant, by a clear showing, carries the burden of



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persuasion.” LKQ Corp. v. Fengler, No. 12-CV-2741, 2012 WL 1405774, at *3 (N.D. Ill. Apr.

23, 2012) (quoting Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (emphasis in original).

Groupon has not made such a showing. Courts in this District have not hesitated to deny

requests for a TRO where, as here, the plaintiff-employer fails to show a likelihood of success

through vague and unsupported allegations. See, e.g., Saban v. Caremark Rx, L.L.C., 780 F.

Supp.2d 700, 714 (N.D. Ill. 2011) (denying TRO against “top-level executive” where “the

uncontested finding of fact indicated that Saban had not retained any confidential information,

except for what he remembered” pursuant to Covenant not-to-compete and ITSA); Cintas Corp.

v. Perry, No. 03 C 8404, 2004 WL 2032124, at *15 (N.D. Ill. Aug. 20, 2004) (denying TRO

against former Vice President of Field Sales for the Western Division to work for direct

competitor pursuant to Covenant not-to-compete); Triumph Packaging Grp. v. Ward, 834 F.

Supp.2d 796, 804 (N.D. Ill. 2011) (denying TRO against former COO under ITSA).

       1.      Groupon Cannot Establish it is Likely to Prevail on the Merits as to any of its
               claims
       Dubiously, Groupon’s motion is supported only by a Complaint.              Although the

Complaint is verified, Groupon’s verification is ambiguous and opaque. Four individuals verify

the entire 37-page Complaint, with no attribution among them as to which individual has

personal knowledge of which facts, and on what basis. Beyond this deficiency, Groupon has not
shown a likelihood that it will prevail on a single one of its claims.

               a.      The non-competition agreement is illegal and unenforceable under
                       both Washington Law and Illinois Law (for different reasons)
       As set forth above and supported in Mr. Shin’s Motion to Dismiss (Dkt. Nos. 12-16), the

noncompetition clause, choice-of-forum clause, and choice-of-law clause all are illegal and

unenforceable under Washington law. RCW 49.62. As argued in greater detail in Plaintiff’s

Motion to Dismiss, for “Washington-based” workers, an employer is prohibited from using a

choice of law clause that “deprives the employee or independent contractor of the protections or

benefits of this chapter” or “to adjudicate a noncompetition covenant outside of this state.”




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RCW 49.62.050(2). The Western District of Washington recently held that a noncompete clause

such as Groupon’s, requiring application of out-of-state law in an out-of-state forum, violates

RCW 49.62 and therefore is void and unenforceable. See CVS Pharmacy, Inc. v. Brown, case

no. C21-306 MJP, 2021 U.S. Dist. LEXIS 49450 at * 3-4 (W.D. Wash., Mar. 16, 2021) (holding

that the “Washington Noncompete Act renders CVS’s noncompete unenforceable because it

requires Brown to ‘adjudicate a noncompetition covenant outside of’ Washington’”).            (See

Groupon TRO, Dkt. No. 6, at p. 31 of 44.)

       If the Court denies Defendant’s motion to dismiss or transfer venue, and hears the breach

of contract claim on the merits, Groupon still cannot establish a likelihood of success: even if

the noncompetition covenant was not illegal on its face, it is unreasonable under the facts here,

and therefore unenforceable.

       Washington courts will enforce a covenant not to compete only when the covenant is

“validly formed” and “reasonable.” Labriola v. Pollard Group, Inc., 152 Wn.2d 828, 833, 100

P.2d 791, 793 (2004). Washington courts apply a three-factor test to determine whether a

covenant not-to-compete is reasonable:

       (1) whether restraint is necessary for the protection of the business or goodwill of
       the employer, (2) whether it imposes upon the employee any greater restraint than
       is reasonably necessary to secure the employer’s business or goodwill, (3)
       whether the degree of injury to the public is such loss of the service and skill of
       the employee as to warrant nonenforcement of the covenant.
Perry v. Moran, 109 Wn.2d 691, 698, 748 P.2d 224, 228-29 (1987), modified on

reconsideration, 111 Wn.2d 885, 766 P.2d 1096 (1989) (citing Knight, Vale & Gregory v.

McDaniel, 37 Wn. App. 366, 369, 680 P.2d 448 (1984)). The reasonableness of the restriction

imposed upon an employee by a covenant not-to-compete is determined based on the facts of

each case. Wood v. May, 73 Wn.2d 307, 312, 438 P.2d 587, 590 (1968). To prevail, the plaintiff

must prove that the geographic scope of the restraint and the time period for which an employee

is restrained are not excessive. Wood v. May, 73 Wash.2d 307, 311, 438 P.2d 587, 590 (1968)

(holding “we are constrained to believe that the restrictions were probably unreasonable both as




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to area and time.”); ChemStation of Seattle, LLC v. Donahoe, 2018 WL 3625781 at *5-6 (Wash.

App. July 30, 2018) (holding that “the evidence in the record does not support the preliminary

injunction as it is currently written [and that] [i]t was an abuse of discretion to grant a

preliminary injunction with no geographical limitation”); see also Robbins v. NuVasive, Inc.,

2020 WL 7081588 at *7 (E.D. Wash. Dec. 3, 2020) (finding that “the noncompetition covenants

are unenforceable pursuant to Chapter 49.62” and ultimately denying the “extraordinary and

drastic remedy of a preliminary injunction” due to the unreasonableness of the nonsolicitation

restrictive covenant).

       In Illinois, “[t]he modern, prevailing common-law standard of reasonableness for

employee agreements not to compete applies a three-pronged test.” Reliable Fire Equipment Co.

v. Arrendondo, 965 N.E.2d 393, 396 (2011) (quoting BDO Seidman v. Hirshberg, 712 N.E.2d

1220, 1223 (1999)). A restrictive covenant, assuming it is ancillary to a valid employment

relationship, is reasonable only if the covenant: (1) is no greater than is required for

the protection of a legitimate business interest of the employer-promisee; (2) does not impose

undue hardship on the employee-promisor, and (3) is not injurious to the public. Id.

(citing Restatement (Second) of Contracts § 187 cmt. b, § 188(1) & cmts. a, b, c (1981)).

“Further, the extent of the employer’s legitimate business interest may be limited by type of

activity, geographical area, and time.” Id. at 396-97 (citing Restatement (Second) of Contracts

§ 188 cmt. d (1981)). “This court long ago established the three-dimensional rule of reason in

Illinois and has repeatedly acknowledged the requirement of the promisee’s legitimate

business interest down to the present day.” Id. at 397.

       Here, Groupon cannot show that its covenant is necessary to protect its business.

                         (i)   Yelp is not a Meaningful Competitor of Groupon

       Groupon has presented to the Court “significant misstatements regarding Yelp’s business,

Yelp’s relationship to Groupon, Mr. Shin’s role at Yelp, and the nature of internet advertising

generally.” (Patel Declaration at ¶ 3.)




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                              (a)     Yelp’s Core Business is as an Open Social Networking
                                      Review Site
        Yelp, founded in 2004, owns and operates Yelp.com, a popular social networking and

search website, mobile website, and related mobile applications (collectively, “Yelp”) for users

to share information about their communities. Yelp provides and publishes a forum for members

of the public to read and write reviews about local businesses, services, and other entities,

including non-profits and government agencies. (Patel Declaration at ¶ 4.) Yelp strives to host a

Yelp page for every brick and mortar business in the country, regardless of whether that business

ever claims its Yelp page, is a Yelp advertiser, or generates any revenue for Yelp at all. (See id.

at ¶ 10.)

                              (b)     In Contrast, Groupon’s Core Business is Coupons

        Unlike Yelp, Groupon is not an open social networking and search website. Instead,

Groupon is a subscription-based service that merchants and consumers both have to sign up for

to use. (See id. at ¶ 9.) As Groupon admits in its Complaint and in its application for a

temporary restraining order, the “core” of its business is “discounted vouchers that customers can

purchase for merchant businesses” – akin to modern day coupons. (Complaint at ¶ 73; TRO at p.

19.) Businesses that advertise through Groupon are, by virtue of the very nature of Groupon’s

platform, attracting customers specifically looking for an initial discount for a good or service,

regardless of whether they are ready. Not every business wants to offer a discount, but those that

do will attract new customers specifically looking for a discount. (Patel Declaration at ¶ 11.)

                              (c)     Differences Between the Companies

        Yelp’s and Groupon’s differing purposes and business models have important

implications for the differing types of consumers and advertisers that each attracts (Patel

Declaration at ¶ 10):

        Core business functions.    Groupon provides discount vouchers for merchants.             (See

Complaint at ¶ 73.) Yelp is a site for reviews and photos of businesses. (Patel Decl. at ¶ 5.)




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       Access to services. Groupon is available to the public via subscription-based service with

registration. (Patel Declaration at ¶ 9.) Yelp is the exact opposite. Yelp is available at no charge

and without need for registration. (Patel Declaration at ¶ 5.)

       Targeted audience. Groupon pitches its services to previously/potentially subscribed

consumers who are specifically looking for and motivated by a discounted deal.                (Patel

Declaration at ¶ 11.) In contrast, Yelp is an open access search engine allowing anyone to look

up businesses with the option to specify by region. (Patel Declaration at ¶ 5.)

       Consumer’s desire. Groupon’s customers are looking specifically for an initial discount

for a good or service, regardless of whether they are ready to buy. (Patel Declaration at ¶ 11.) In

the alternative, Yelp’s consumers tend to be convinced or near convinced they want to make a

purchase. A 2019 survey showed that 51% of Yelp users transact with the business they find

within a day, and 90% transact within a week. (Patel Declaration at ¶ 10.)

       Product management. Consumers use Groupon’s platforms to search for and discover

services and deals. (See Complaint at ¶ 10.) Yelp has not committed product management

resources to its comparable Yelp Deals feature since at least 2017. In 2020, Yelp Deals was

responsible for less than 0.057% of Yelp’s overall net revenue, with expected revenue returns

even lower in 2021. (Patel Declaration at ¶ 8.)

       List of competitors per company. A Google search for “Groupon competitors” shows top

ten Groupon alternatives and competitors are other discount subscription-based services—deal

sites: Vagaro, Travelzoo, dealsaver, Localflavor, HalfOffDeals, Gilt, Deals.Today, and Glopal.

(Patel Declaration at ¶ 14.) In contrast, a Google search for “Yelp competitors” produces results

for Google itself, Bing, Facebook Recommendations, Zagat, TripAdvisor, and Angi, and the top

five are Tripadvisor, Foursquare, Yahoo, OpenTable, and Yodle. (Patel Declaration at ¶ 15.)

       The closest thing to “competition” that Groupon alludes to is “Yelp Deals.” (Groupon

TRO at p. 12.) Over a decade ago, Yelp experimented with an advertising product called “Yelp

Deals,” offering daily deals from businesses, but as discussed above Yelp has pivoted away from




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that product and it is an infinitesimal portion of Yelp’s overall net revenue that is expected to

further diminish. (Patel Decl. at ¶ 8.)

           Additionally, Yelp’s advertising products are generally performance-based, meaning that

Yelp’s advertising platform matches to individual consumers through auctions priced on a cost-

per-click (or “CPC”) basis.             Groupon claims that some of it’s advertising products are

performance-based, but that’s an insignificant similarity – like saying they compete because they

both advertise on TV. Yelp and Groupon are not competitive with one another merely because

they each offer performance-based advertising or use “metrics” for measurable advertising

results. (Patel Declaration at ¶ 19.) Performance-based advertising is one of the most – if not the

single most– common forms of advertising on the internet, inasmuch as it allows websites to

make money without charging their users any upfront fees. Websites often offer advertising on a

CPC or other metric-based basis. Amazon, eBay, Google, Yahoo!, and Microsoft each use a

CPC model. Indeed, performance-based advertising is so well known – and associated with

internet advertising – that there is a Wikipedia article describing it in detail. 3 (Patel Declaration
at ¶ 20.)

           Contrary to Groupon’s representation, at no time did Mr. Shin identify Yelp as a

competitor. (Compare Verified Complaint at ¶ 80 and Exhibits J and K to id. with Shin

Declaration at ¶ 25.) Nor would it make sense for him to do so because the two companies’

business models are completely different, and the functions of the two companies are distinct;

indeed, they are complementary, rather than competitive. (Shin Declaration at ¶ 28; see also

Exhibit H to Verified Complaint.) Indeed, Mr. Shin’s two emails appended to Groupon’s

Complaint do not support Groupon’s application for a TRO at all. With two weeks’ advance

notice of Mr. Shin’s impending departure, Groupon presumably searched Mr. Shin’s thousands

(if not tens of thousands) of work emails amassed over seven months at Groupon and it came up

with a grand total of two—neither of which actually describe Yelp and Groupon as competitors.

3
    https://en.wikipedia.org/wiki/Performance-based_advertising.




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The emails show only that Groupon is unlikely to succeed in showing that Yelp and Groupon are

real competitors.

       The other exhibits to Groupon’s Complaint show the same. Exhibit G to Groupon’s

Complaint purports to be a December 2017 snapshot created using data from a company called

Comscore that shows “mobile reach”—a measurement of mobile browsing and mobile

application—of various websites. Comscore does not evaluate potentially competitive

relationships between websites; instead, it measures audience demographics and performance for

websites—similar to the Nielsen ratings for television shows.

       Likewise, neither of the third-party analyst reports that Groupon attached to its Complaint

(Exhibits H and I) actually identify Yelp and Groupon as competitors. (Patel Declaration at ¶ 12;

see also Shin Declaration at ¶¶ 27, 28.) Additionally, Exhibit F, which purports to be an internal

Groupon PowerPoint slide, does not state anything about direct competition between Groupon

and Yelp. The slide simply points out that Yelp uses its own social media account on Instagram

to share holiday gift suggestions from local businesses. (Shin Declaration at ¶ 26.) This is weak

evidence of competition indeed, and no one on Yelp’s product management team had any

connection to those branding efforts whatsoever. (Patel Declaration at ¶ 13.)

       To find support for its motion, Groupon had two weeks in which to review its records, the

internet, and Mr. Shin’s devices. The result is only a collection of vague, ambiguous, and old

(2017) documents on which Groupon rests its claim that Yelp is its direct competitor in the

global market. That certainly is not enough for the extraordinary relief Groupon seeks.

               b.     Plaintiff has not alleged any facts showing that Defendant has violated
                      any of the terms of the restrictive covenant, even if it was enforceable
       Mr. Shin’s employment agreement with Groupon specified that he would not solicit,

accept on behalf of another, or attempt to entice any customer with whom he had contact in the

course of his duties as a Groupon employee or any prospective customer of Groupon as defined

in the agreement. (See Complaint at ¶ 50; see also Exhibit B to the Verified Complaint.)




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       But, aside from its fear that he will do so, Groupon has offered nothing to indicate that

Mr. Shin has contacted any customers who would fall into either of these categories. Nor has it

provided any evidence of customers being lured away to Yelp through an effort by Mr. Shin. By

contrast, Mr. Shin has expressly declared that he has not done this, and will not do this. (Shin

Declaration at ¶ 18.) He further declared that he does not have any contact information for

Groupon clients (not even a LinkedIn connection). (See id. at ¶¶ 18, 19.) Moreover, he has

explained that his role at Groupon was not to build customer relationships, and that in his very

short tenure at the company he did not do so. (See id. at ¶ 19.)

               c.      Lack of Geographic Scope is Unreasonable

       Groupon’s non-compete contains no boundaries. It literally prohibits Mr. Shin from

working anywhere in the world that Groupon claims to do business. Absent far more evidence

than Groupon has presented, this is unreasonable on its face. ChemStation of Seattle, LLC v.

Donahoe, 2018 WL 3625781 at *5-6 (Wash. App. July 30, 2018) (holding “ [i]t was an abuse of

discretion to grant a preliminary injunction with no geographical limitation.”).

               d.      Groupon has Offered No Justification for an 18-month Duration
       A restriction is permissible only for as long as it is needed to protect the employer. Here,

Groupon has offered zero justification for an 18-month duration. We live in a fast-paced world

with rapid changes in technology, the economy, and consumer interests – much of it driven by
the internet. Advantages to particular approaches in eCommerce are especially temporary. This

is exacerbated by the uncertainties caused by a global pandemic, during which Groupon imposed

its noncompete. In this environment, Groupon has not explained how whatever special sauce it

believes is in Mr. Shin’s head has a useful shelf-life of a year and a half.

       Groupon must show that the information it seeks to protect needs to be protected for that

long. Almost 20 years ago, in Unisource Worldwide, Inc. v. Carrara, 244 F. Supp.2d 977, 982

(C.D. Ill. 2003), the court held that a non-compete lasting longer than a year in the employer’s

industry was unreasonable because the employer’s information became “stale”:




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         The Court finds that, as applied to the industry at issue in this case, two years is
         an unreasonable period of time to impose in a covenant not to compete. This is
         because the prices, costs, and customer information governing Unisource's
         operations at any particular time are volatile. While some products’ prices are
         more volatile than others, Unisource’s Regional Vice President testified that
         changes are made within Unisource’s price books about every six months, and
         internal pricing information is stale after twelve months.
Since Groupon has failed to identify any particular information that it seeks to protect, it has not

alleged or shown the reasonable lifetime of its claimed protectible interest. (Shin Declaration at

¶ 24.)

                e.      The Scope of the Non-Compete is Unreasonable

         Groupon’s non-compete purports to restrict Mr. Shin from working for “any entity which

is in competition with Groupon in the Geographic Area.” (Complaint, Exhibit Dkt. 1-2 at page

7.) But the agreement fails to define “competition.” The agreement fails to provide any

examples of entities that are in competition with Groupon. And the agreement gives prospective

employees no guidance on what Groupon believes, or will contend, are entities with which it is

in competition. Although the agreement purports to restrict its unbounded view of competition

to jobs that are “positions with responsibilities similar to any position” held with Groupon,

“similar” is just as undefined as “competition.”

         2.     Under Illinois Law, the Non-Compete is Invalid for Lack of Adequate
                Consideration Since Defendant Worked at Groupon for Less Than Two
                Years.
         Postemployment restrictive covenants are carefully scrutinized by Illinois courts because

they operate as partial restrictions on trade. Cambridge Engineering, Inc. v. Mercury Partners

90 BI, Inc., 378 Ill.App.3d 437, 447 (2007). In order for a restrictive covenant to be valid and

enforceable, the terms of the covenant must be reasonable. Id. However, before even

considering whether a restrictive covenant is reasonable, the court must make two

determinations: (1) whether the restrictive covenant is ancillary to a valid contract; and (2)

whether the restrictive covenant is supported by adequate consideration. Lawrence & Allen, Inc.

v. Cambridge Human Resource Group, Inc., 292 Ill.App.3d 131, 137 (1997).




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        Illinois law is clear that merely employing someone for less than two years is not enough

consideration to enforce a restrictive covenant against them. Fifield v. Premier Dealer Servs.

Inc., 993 N.E.2d 938, 373 Ill.Dec. 379 (1st Dist. App. Ill. 2013), 4 provided a bright line 2-year

test, which the state legislature has codified in the Illinois Freedom to Work Act.                           The

amendment to this Act, which will go into effect on January 1, 2022, reads “‘[a]dequate

consideration’ means (1) the employee worked for the employer for at least 2 years after the

employee signed an agreement containing a covenant not to compete or a covenant not to

solicit or (2) the employer otherwise provided consideration adequate to support an agreement to
not compete or to not solicit, which consideration can consist of a period of employment plus

additional professional or financial benefits or merely professional or financial benefits adequate

by themselves.” IL ST CH 820 § 90/5 (emphasis added).

        Here, since Mr. Shin did not work at Groupon for the requisite two-year period, Groupon

must prove that it provided him additional consideration on top of only seven months of

employment that is legally adequate consideration to take him out of the economic marketplace

for 18 months. Groupon cannot meet this burden. First, it has offered no evidence that it

provided him any additional consideration in exchange for the non-competition covenant.

Rather, the company points merely to the elements of his compensation as evidence of such

consideration.     But his compensation was in exchange for his employment; Groupon has

supplied no documentation or other evidence that any portion of what it paid him was

specifically offered as consideration for the non-compete. Brown and Brown, Inc. v. Mudron,

379 Ill.App.3d 724, 729, 887 N.E.2d 437, 440-41 (3d. Dist. 2008). Like here, in Brown, the

Plaintiff claimed that Defendant Gunderson received additional employee benefits as

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  The Court explained that “Illinois courts have repeatedly held that there must be at least two years or more of
continued employment to constitute adequate consideration in support of a restrictive covenant . . . [which] is
maintained even if the employee resigns on his own instead of being terminated.” Id. at 943. The Fifield Court
explained that, “although the plaintiff claimed that the defendant received additional employee benefits as
consideration for the restrictive covenant, there was no evidence to establish what the benefits were or how they
differed from the benefits the defendant was already receiving.” Id. at 942. Therefore, there the consideration was
inadequate to support the restrictive covenants in the employment agreement.




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consideration for the restrictive covenant, but presented no evidence establishing with specificity

that the purported benefits were in exchange for the covenant not to compete. See id. As a

result, the court concluded that the covenant was not supported by adequate consideration so was

unenforceable. Thus, Groupon cannot now, post hoc, assert that it intended that some portion of

his compensation to be consideration for the non-compete, because it had to be a meeting of the

minds of the parties. Trittipo v. O’Brien, 204 Ill. App.3d 662, 672, 561 N.E.2d 1201, 1207 (3d.

Dist. 1990) (“One of the elements essential to the formation of a contract is a manifestation of

agreement or mutual assent by the parties to its terms.”).
       Second, Mr. Shin did not actually receive the additional compensation that Groupon cites

as consideration. Groupon required him to return the signing bonus, which he has done, and the

RSUs that the company offered him will not vest (since he stayed less than one year). (Shin

Declaration at ¶¶ 5, 9, 10, 31; see also Complaint at ¶¶ 31, 32, 48; Exhibit B to Complaint.)

Thus, Groupon’s claim that it paid Mr. Shin these components of additional compensation is

false. Its promise to pay these forms of compensation was illusory – they were self-evidently

incentives for staying at Groupon, not consideration for refraining from working for eighteen

months in the event that he left. Groupon does not pass the Fifield test.

       This Court should not enforce a restraint where the circumstances indicate bad faith or

deliberate overreaching on the part of the employer, which is the case here. Therefore, the entire

noncompetition covenant should be declared unenforceable.

               a.      Groupon Is Not Likely to Succeed on its Claim for Violation of the
                       Illinois Trade Secrets Act (ITSA) or Defend Trade Secrets Act
                       (DTSA)
       Groupon has failed to establish a likelihood to succeed on the merits for either the ITSA

or DTSA. To demonstrate that Mr. Shin has “misappropriated” its trade secrets in violation of

Illinois law, Groupon must show three things: (1) that the information at issue was a secret; (2)

that Mr. Shin misappropriated it; and (3) that he has used it in his new employment with Yelp.




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Associated Underwriters of Am. Agency v. McCarthy, 356 Ill. App.3d 1010, 826 N.E.2d 1160,

1168, 292 Ill. Dec. 724 (1st. Dist. 2005).

       Groupon has not shown any of the three elements of its claims. Its claim is premised

solely on general, vague allegations that Mr. Shin has unspecified trade secrets in his head that

he will inevitably be forced to use at Yelp. This is far from sufficient to satisfy the high burden

when seeking a TRO.

                        (i)    Groupon has Failed to Identify any Trade Secrets, Let Alone
                               Any That Mr. Shin Possesses or Might Use in His Yelp Role
       “As numerous courts have explained, where a plaintiff suggests that general categories of

information are trade secrets, the lack of specificity greatly reduces its chances of demonstrating

that a defendant has misappropriated its trade secrets.” Vendavo, Inc. v. Long, 397 F.Supp.3d

1115, 1130 (N.D. Ill. Aug. 20, 2019); see also PrimeSource Bldg. Prod., Inc. v. Huttig Bldg.

Prod., Inc., 2017 WL 7795125, at *15 (N.D. Ill. Dec. 9, 2017); Composite Marine Propellers,

Inc. v. Van Der Woude, 962 F.2d 1263, 1266 (7th Cir. 1992) (noting that the plaintiff must point

to concrete secrets, not broad areas of technology, to prevail on trade secrets claim); see

also Service Ctrs. of Chi., Inc. v. Minogue, 180 Ill.App.3d 447, 129 Ill.Dec. 367, 535 N.E.2d

1132, 1135 (1989) (reversing grant of preliminary injunction where plaintiff “consistently failed
to identify with any degree of particularity the alleged trade secrets or confidential information in
need of protection”).

       Such particularity is necessary because a plaintiff cannot prevail at trial under either the

DTSA or ITSA unless it identifies its trade secrets in sufficient detail that the trier-of-fact can

determine what information comprises the secret and whether it was disclosed. GlobalTap LLC

v. Elkay Mfg. Co., 2015 WL 94235, at *5–6 (N.D. Ill. Jan. 5, 2015). “[W]here a plaintiff cites

[only] general categories of information, but ‘never singles out any particular trade secret,

explaining how it created and safeguarded that particular bit of information,’ the lack of

particularity renders it unlikely to succeed on its trade secrets misappropriation claim.” Long,

397 F.Supp.3d at 1130 (citing PrimeSource Bldg. Prod., Inc, 2017 WL 7795125, at *15,



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quoting Traffic Tech, Inc. v. Kreiter, 2015 WL 9259544, at *20 (N.D. Ill. Dec. 18, 2015)).

       Groupon claims in conclusory and broad-brush fashion that “Yelp uses a near-identical

advertising and marketing platform to compete in connecting consumers to business.” (Verified

Complaint, Dkt. No. 1, ¶ 1.) Groupon asserts vaguely that it “uses innovative marketing and

advertising strategies . . . to reach consumers throughout the purchase cycle.” (Id. at ¶ 18.) And

Groupon alleges in cursory fashion that Mr. Shin synthesized various forms of proprietary

information and developed a specialized expertise of Groupon’s historic advertising practices

and the metrics.    (See Groupon’s TRO at p. 21.)        But Groupon’s historic practices and

advertising metrics are solely best practices that have been recognized in the eCommerce

industry since the early 2000s. (Shin Declaration at ¶ 15.) Further, Mr. Shin’s purported

knowledge related to the alleged proprietary information would not be relevant to any business

outside of Groupon, and not at all relevant to his new role at Yelp. (See id.) Finally, Groupon’s

generalized definitions of advertising and marketing platforms are so overbroad that they

effectively characterize all eCommerce businesses in the 21st century. (Shin Declaration at

¶ 13.) For example, placing advertising in online search results and developing audiences to

target are standard tactics in digital advertising. In fact, on or about August of 2021, Mr. Shin

recalls Simon Goodall and Aaron Cooper (Groupon’s Interim CEO) repeatedly stating that

Groupon’s model was following an “eCommerce advertising blueprint.” Indeed it was, because

the advertising model was fairly simplistic and not at all unique. It was the same model that is

used across all eCommerce platforms, namely, to maximize return on ad spend (“ROAS”) by

using advertisement dollars to drive sales on the platform. This same model was used by

Amazon when Mr. Shin worked there for eight years (from 2013-2021) immediately preceding

his employment at Groupon. A generic Commerce Advertising “Blueprint” is no trade secret

belonging to Groupon. (See id.) In other words, Groupon asks the Court to prevent Mr. Shin

from relying on his 25-plus years of experience before he joined Groupon for a mere seven

months, in his new employment with Yelp.




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                              (a)     Groupon has not Alleged Actual Misappropriation
       One can misappropriate trade secrets by “acquiring” them through improper means such

as the breach of a confidential relationship. See 765 ILCS 1065(b)(1). Misappropriation also

occurs when a defendant breaches a duty owed to protect the secrecy of its information or

induces another party to do so. Mintel Int'l Grp., Ltd. v. Neergheen, 2008 WL 2782818, at *3

(N.D. Ill. July 16, 2008) (citing 765 ILCS 1065(b)(2)(B)). The DTSA defines misappropriation

as “an unconsented disclosure or use of a trade secret by one who (i) used improper means to

acquire the secret, or, (ii) knew or had reason to know that the trade secret was acquired through

improper means, under circumstances giving rise to a duty to maintain the secrecy of

the trade secret, or derived from or through a person who owed such a duty.” Mission

Measurement Corp. v. Blackbaud, Inc., 216 F. Supp.3d 915, 920 (N.D. Ill. 2016). The statute

further defines “improper means” as including “theft, bribery, misrepresentation, breach or

inducement of a breach of a duty to maintain secrecy, or espionage through electronic or other

means.” 18 U.S.C. § 1839(6).

       But Groupon makes none of these allegations against Mr. Shin. This is because he has

not taken any of its documents or data. Instead, Groupon alleges that when he quit, Mr. Shin

took with him what is in his head. Nor does Groupon claim that Mr. Shin has disclosed or used

what is in his head. Under court precedent, that cannot reasonably be characterized as

“misappropriation.” Groupon apparently recognizes this, so claims that at some point he will be

unable to perform his new job without disclosing its secrets.

                              (b)     Groupon Fails to Show that the Doctrine of Inevitable
                                      Disclosure Should Apply Here
       The Seventh Circuit has applied the doctrine of inevitable disclosure under ITSA, but

does not appear to have ruled on whether it also applies under the DTSA. The language of

DTSA itself explicitly precludes using the statute as a basis for entering an injunction based on

actual or threatened use of a trade secret that would “prevent a person from entering into an

employment relationship, and that conditions placed on such employment shall be based on




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evidence of threatened misappropriation and not merely on the information the person knows[.]”

18 USC § 1836(b)(3)(A).

       Some district courts in this circuit have applied the doctrine, although they do so quite

sparingly. “Courts do not often apply the inevitable disclosure doctrine, recognizing that ‘a

broad application would be an effective bar against employees taking similar positions with

competitive entities.’” Triumph Packaging Grp. v. Ward, 834 F. Supp.2d 796, 809 (N.D. Ill.

2011) (citations omitted). For these reasons, a court should be “cautious in its application of this

doctrine.” Id.

       The following factors are used by Illinois courts in determining whether disclosure of

trade secrets are inevitable: “(1) the level of competition between the former employer and the

new employer; (2) whether the employee’s position with the new employer is comparable to the

position he held with the former employer; and (3) the actions that the new employer has taken

to prevent the former employee from using or disclosing trade secrets of the former employer.”

Saban v. Caremark Rx, L.L.C., 780 F.Supp.2d 700, 734 (N.D.Ill. 2011) (citing RKI, Inc. v.

Grimes, 177 F.Supp.2d 859, 873 (N.D.Ill. 2001)).

       “[T]he mere fact that a person assumed a similar position at a competitor does not,

without more, make it ‘inevitable that he will use or disclose. . . trade secret information’ so as to

‘demonstrate irreparable injury.’” PepsiCo, Inc. v. Redmond, 54 F.3d 1262, 1269 (7th Cir. 1995)

(quoting AMP Inc. v. Fleischhacker, 823 F.2d 1199, 1207 (7th Cir. 1987)). “Moreover, the

employer’s fear that its former employee will use the trade secrets in his new position is

insufficient to justify application of the inevitable disclosure doctrine.” Triumph Packaging Grp.

v. Ward, 834 F. Supp.2d 796, 809–13 (N.D. Ill. 2011) (citing Saban, 780 F.Supp.2d at 734

(citing PepsiCo, 54 F.3d at 1268–69). “Instead, the employer must demonstrate a ‘high

probability’ that the former employee will use them.” Id. (citing Saban (citing PepsiCo, 54 F.3d

at 1268–69) (emphasis added).

       To succeed in stating a claim for inevitable disclosure, Groupon needs to show that Mr.

Shin could not “operate or function” in his new position without relying on the trade secrets.



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Strata Marketing, Inc. v. Murphy, 317 Ill.App.3d 1054, 251 Ill.Dec. 595, 740 N.E.2d 1166, 1179

(1st Dist. 2000). Groupon cannot demonstrate this because Mr. Shin took a completely different

type of job at Yelp – one that has no use for any information he may have come across at

Groupon. Consequently, Groupon cannot show that merely by performing his job at Yelp it is

inevitable that he will have to disclose some secret that Groupon claims he learned in its employ.

       First, Groupon’s characterization of the scope of its competitors is unsupportably

overbroad. In describing its eCommerce functions, Groupon claims that it “provides marketing

and advertising products to help its merchants and clients reach large audiences, advertise their

products, and drive conversion of their services.”(Complaint at ¶ 63.)           That description

ecompasses essentially every eCommerce business today.

       As set forth in detail above, when the core purposes of Groupon’s and Yelp’s

eCommerce platforms are compared, they are not in competition. Yelp’s and Groupon’s

differing purposes and business models have important implications for the differing types of

consumers and advertisers that each attracts. (Patel Declaration at ¶ 10.) Yelp is an open

website for customers to write or read business reviews. (See id. at ¶ 4.) In contrast, Groupon is

a membership-only website that provides its consumers coupons. (See id. at ¶¶ 9-11; see also

Complaint at ¶ 73; TRO at p. 19.) Yelp Deals, the only Yelp feature comparable to Groupon’s

business, constituted less than 0.057% of Yelp’s overall net revenue in 2020, with expected

returns even lower in 2021. (Patel Declaration at ¶ 8.) Any alleged competition between Yelp

and Groupon is negligible.

       Second, Mr. Shin’s role and department at Yelp differs completely from his role and

department at Groupon. At Groupon, Mr. Shin was a General Manager of the advertising

business to drive revenue. (Shin Declaration at ¶¶ 11, 12.) The main advertising business there

related to sponsored ads in email, and display advertisements on the desktop/mobile websites.

(See id. at ¶ 12,) The product and technology Departments at Groupon were not owned or

supervised by Mr. Shin, which were under a completely different manager. (See id. at ¶ 11(a).)




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       Mr. Shin’s advertising business operations role at Groupon does not overlap with his new

product development role in the Technical Department at Yelp. Yelp hired Mr. Shin as its Vice

President of Product Management, Multi-Loc. (Patel Declaration at ¶¶ 16, 17.) Mr. Shin will

have no responsibilities whatsoever relating in any way to Yelp Deals, which has not had a Yelp

product manager assigned to it in the past four years, since at least 2017. (See id. at ¶ 18.) That

is an eternity in modern ecommerce.        In sum, because Mr. Shin will manage a product

development team, his new role is entirely different from his prior position at Groupon; indeed,

there is no comparable department or responsibilities at Groupon. (Shin Declaration at ¶ 12(b).)

       Third, Yelp took its own steps in response to Groupon’s allegations and required Mr.

Shin to sign a sworn declaration reminding him of Yelp’s policies that prohibit improper use or

disclosure of information from prior employers. Mr. Shin provided the same assurances, that he

did not possess any proprietary information and would be sharing no confidential information at

all via sworn declaration.    (Daire Declaration at ¶ 7.)      Yelp received Mr. Shin’s sworn

declaration from his counsel on November 14, 2021, before he started working for Yelp on

November 15, 2021. (See id.) Yelp has taken every precaution, with the full cooperation of Mr.

Shin, to prevent the disclosure of trade secrets, if any exist, of Groupon. (Shin Declaration at ¶¶

24, 32.)

       If the Court applies Washington law or the law in the Ninth Circuit as it would apply to

DTSA, the outcome is no more favorable to Groupon. “Washington has neither adopted nor

rejected the inevitable disclosure doctrine.” Modumetal, Inc. v. Xtalic Corp., 4 Wash. App. 2d

810, 828, 425 P.3d 871, 881 (2018) (citing Moore v. Commercial Aircraft Interiors, LLC, 168

Wn. App. 502, 513, 278 P.3d 197 (2012)). But given Washington’s major statutory reform of

non-compete law effective January 2020, creating robust protections for employees to foster

employee mobility, there is good reason to believe it would follow California’s lead on the issue.

See Globespan, Inc. v. O’Neill, 151 F. Supp.2d 1229, 1234 (C.D. Cal. 2001) (“The ‘theory of

inevitable disclosure’ relied on by Plaintiff ‘creates a de facto covenant not to compete [and]

run[s] counter to the strong public policy in California favoring employee mobility.’”).



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       Similarly, district courts in the Ninth Circuit consistently reject the doctrine of inevitable

disclosure. See, e.g., Power Integrations, Inc. v. De Lara, No. 20-CV-410-MMA (DEB), 2020

WL 4582675, at *12 (S.D. Cal. Aug. 10, 2020) (“The DTSA permits a court to enjoin ‘any actual

or threatened misappropriation.’”) (quoting 18 U.S.C. § 1836(b)(3)(A)(i)); ELT Sight, Inc. v.

EyeLight, Inc., No. LACV1905545JAKRAOX, 2020 WL 7862134, at *16 (C.D. Cal. Aug. 28,

2020) (“the application of the inevitable disclosure doctrine in California has been rejected by

courts addressing both DTSA and CUTSA claims.”); Danjaq LLC v. Sony Corp., 50 U.S.P.Q. 2d

1638, 1640 n.1 (C.D. Cal. 1999) (holding that inevitable disclosure doctrine “is not the law of the

State of California or the Ninth Circuit”).

       Consequently, Groupon failed it to establish inevitable disclosure, undermining its ability

to show any likelihood of success on the merits of its ITSA and DTSA claims.

       3.      Groupon has Failed to Demonstrate Irreparable Harm

       Groupon relies entirely on its presumption that harm will occur, rather than

demonstrating how it will actually be harmed. Although harm may be presumed in some

instances, those presumptions are rebuttable by a showing that the movant will not suffer any

harm in the absence of an injunction. Vienna Beef Ltd. v. Red Hot Chicago, Inc¸ 833 F.Supp.2d

870, 876 (N.D. Ill. 2011) (citing Computer Associates Intern. v. Quest Software, Inc., 333

F.Supp.2d 688, 700 (N.D.Ill. 2004)). Groupon’s argument that Mr. Shin accepted employment

at its “direct competitor” in a role where he will “necessarily rely upon and Divulge Groupon’s

trade secrets” is false and unsupported by anything other than its speculation. (Groupon TRO at

p. 32.) “[S]peculative injuries do not justify this extraordinary remedy,” and “a plaintiff cannot

obtain a preliminary injunction by speculating about hypothetical future injuries.” Trustees of

Teamsters Union No. 142 Pension Fund v. AJ & S Trucking, Inc., 992 F.Supp.2d 870, 879 (N.D.

Ind. Jan. 21, 2014) (quoting East St. Louis Laborers’ Local 100 v. Bellon Wrecking & Salvage

Co., 414 F.3d 700, 705-06 (7th Cir. 2005)).

       As detailed above, Yelp is not a direct competitor of Groupon and Mr. Shin’s seven-

month experience at Groupon did not expose him to any proprietary information that is of any



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value in his new role at Yelp. Mr. Shin used his previous 25 years of experience to employ a

standard best practices eCommcere playbook so nothing he learned or created for Groupon was

unique, or involved specialized knowledge that is not already known publically. He is working

for Yelp in a different role, in a different department, and he and Yelp have taken steps to protect

against any disclosure of Groupon’s claimed secrets, and given Groupon assurances that its

information will not be used.

       Groupon’s allegation of irreparable injury is severely undercut by its failure to take any

steps indicating a real concern about confidentiality before filing suit. Groupon continued to

employ Mr. Shin (virtually) in Washington each day during the notice period without

implementing any restriction on his access to Group’s information despite knowing that Mr. Shin

would start his employment with Yelp on November 15, 2021. Groupon also obdurately refused

to engage in any real dialogue with Shin or Yelp to address its supposed concerns. That is not

the behavior of a company with legitimate concerns; rather, it bespeaks gamesmanship and spite.

Not until Mr. Shin’s last day of employment did Groupon file this lawsuit, almost 15 days after

Mr. Shin provided notice of his intent to work at Yelp. (Shin Declaration at ¶ 9; Dkt. No. 1.)

The harm to Mr. Shin from being unable to work far outweighs the unsupported risk to Groupon

that he will disclose any confidential information, which he already declared he does not have,

and would not do. (Shin Declaration at ¶¶ 17, 22, 24, 32.)

       Groupon repeatedy failed to engage with counsel for Yelp and for Mr. Shin when they

asked it to identify any alleged trade secrets or confidential information that it was concerned

about so they could taken any further steps to protect against disclosure. Its failure further

undercuts Groupon’s assertion that it will suffer harm in the absence of a TRO.

       4.      Groupon Has an Adequate Remedy at Law

       Groupon has failed to establish why it could not be adequately compensated with money

damages for any harm shown if it could ultimately establish a breach. In conclusory fashion,

Groupon alleged that its “injuries resulting from Shin’s conduct are not easily ascertainable.”




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(Groupon TRO at p. 33.) This is insufficient. Groupon has failed to concretely identify even one

reason why this dispute renders a financial remedy inadequate.

       In order to establish irreparable injury, Groupon bears the burden to show that its legal

remedy is inadequate in that money damages will not be adequate compensation or

the damages escape pecuniary valuation. Kessler v. Continental Cas. Co., 132 Ill.App.3d 540,

545 (1st. Dist. 1985) (citing Bally Manufacturing Corp. v. JS & A Group, Inc., 88 Ill.App.3d 87,

94 (1980).

       Groupon’s reliance on Vencor, Inc. v. Webb, 33 F.3d 840, 845 (7th Cir. 1994) ”) and

Tyler Enterps. of Elwood, Inc. v. Shafer, 573 N.E.2d 863, 866 (3d Dist. 1991) are misplaced. In

both cases, the defendant had access to confidential information, lured away clients, and worked

for a direct competitor. This is in contrast to the facts here. Mr. Shin had access to standard

eCommerce strategies that he brought to Groupon through his 25 years of experience in the

industry. Mr. Shin has not lured any clients away and has declared that he will not do so. (Shin

Declaration at ¶¶ 13-24, 32.) Moreover, Yelp and Groupon are not direct competitors. (See id.

at ¶¶ 25-29; see also Patel Declaration ¶¶ 3-20.) Groupon’s reliance on Computer Assocs. Int’l v.

Quest Software, Inc., 333 F. Supp. 2d 688, 700 (N.D. Ill. 2004) and IDS Fin. Servs., Inc. v.

Smithson, 843 F. Supp. 415, 418 (N.D. Ill. 1994) similarly fail, as Mr. Shin has not appropriated

or misused any of Groupon’s alleged trade secrets. (Shin Declaration at ¶¶ 13-24, 32.) Yelp has

also affirmatively enforced its own policies that prohibit improper use or disclosure of

information of prior employers. (Daire Declaration at ¶ 7.)

       The undisputed facts here show that Groupon will not be irreparably harmed in the

absence of a TRO. Despite advance notice that Mr. Shin was leaving, the company did not cut

of his access to any alleged trade secets and did not identify any such secrets when requested by

counsel for Yelp and Mr. Shin when they offered to take additional precautions to protect such

information. Groupon concedes that Mr. Shin took nothing from Groupon and does not contend

that he has disclosed any secrets to anyone or that he intends to. Its unsupported hypothesis of

inevitable disclosure is simply too speculative to amount to any showing of irreparable harm.



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       5.      The Balance of Hardships Favor Mr. Shin

       The logical consequence of Groupon’s Motion is to prevent Mr. Shin from working for

any company that uses standard internet advertising techniques to connect consumers with

businesses. In Mr. Shin’s areas of expertise, that is the same as preventing him from working at

all, anywhere. The enhanced yoke that Groupon is attemping to place on Mr. Shin is to: (1)

work indefinitely for Groupon until it decides that his new place of employment is not a

competitor (Complaint at ¶ 1); (2) never disclose any pre-Groupon knowledge and expertise

(Complaint at ¶ 2; Shin Declaration at ¶¶ 13-24); and (3) restrict him from working anywhewre

since there are “no geographic parameters” given his “Global” title. (Groupon Motion for TRO

at p. 22.) Groupon argues that the TRO request is to “require Shin to adhere to and uphold his

contractual obligations . . . [to] be prohibited from holding a role with similar responsibilities as

he held at Groupon.” (Id. at p. 35.) But Mr. Shin is already doing this. He does not have a

similar role at Yelp. He does not have similar responsibilities at Yelp. (Patel Declaration at ¶¶

16-18; Shin Declaration at ¶¶ 11, 12, 25-29, 32.) And he has made clear he will not solicit

Groupon clients in his new role.

       In considering a request for a preliminary injunction, a district judge must choose the

course of action that will minimize the cost of being mistaken. American Hosp. Supply v.

Hospital Prod., Ltd., 780 F.2d 589, 593 (7th Cir.1986). On balance, the greater harm would

result from enjoining Mr. Shin from working. Groupon is far more economically resilient. The

financial disparity between the parties is huge. Given its annual revenue, any potential loss to

Groupon pales in comparison to Mr. Shin’s loss of livelihood.

       Given how, speculative, vague, and unsupported Plaintiff’s claims regarding

misappropriation of trade secrets and confidential information any hardship to Groupon is too

amorphous to credit. Furthermore, since Yelp and Groupon are not direct competitors, and Mr.

Shin’s new role at Yelp is entirely different and in a completely different department, the

hardship is even harder to imagine.




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       If the Court does not vacate the TRO, Mr. Shin will be out of work, barred from using

decades of non-Groupon-related knowledge and experience to earn a living in the profession to

which he has dedicated the last 25 years of his life. (Shin Delcaration at ¶ 35.)

       6.      The Issuance of the TRO Harms the Public Interest

       Both Washington and Illinois have strong public interests in protecting an employee’s

right to work. Brunner & Lay, Inc. v. Chapin, 29 Ill.App.2d 161, 167, 172 N.E.2d 652, 655 (1st

Dist. 1961) (explaining that “[d]epriving a person of his right to work is a drastic method at best,

and should only be invoked where irreparable injury is being done to the employer,” and finding

that the chancellor “erred in ordering the issuance of the temporary injunction” thereby reversing

the temporary injunction”); Wood v. May, 73 Wash.2d 307, 311, 438 P.2d 587, 590 (1968)

(holding the restrictive covenant to be in violation of public policy and that “[i]t was correct to

refuse to enforce this restriction as written, since it is both unduly harsh to respondent in

curtailing his legitimate efforts to earn a livelihood and unnecessary for the protection of the

legitimate interests of appellant”).

       Indeed, “In Illinois, restrictive covenants are disfavored in the law and closely scrutinized

because they are repugnant to the public policy encouraging an open and competitive

marketplace.” Del Monte Fresh Produce, N.A., Inc. v. Chiquita Brands Int’l Inc., 616 F. Supp.

2d 805, 817 (N.D. Ill. 2009), on reconsideration in part (May 13, 2009) (quoting Roberge v.

Qualitek Int’l, Inc., 2002 U.S. Dist. LEXIS 1217, at *12, 2002 WL 109360, *4 (N.D. Ill. Jan. 28,

2002) (invalidating an employee’s non-compete agreement). Indeed, “As a general rule, Illinois

courts are reluctant to enforce restrictive covenants.” Id.

       Covenants are likewise disfavored in Washington. See Perry v. Moran, 109 Wash.2d

691, 706, 748 P.2d 224, 232 (1987), modified on reconsideration, 111 Wash. 2d 885, 766 P.2d

1096 (1989) (concurrence) (“Well established public policy in Washington disfavors contracts in

restraint of trade.”); RCW 49.62 (effectuated major reform of restrictive covenant law based on

the Washington legislature’s finding covenants unreasonable contracts of adhesion where they

do not meet multiple minimum requirements because they limit workforce mobility that is



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important to Washington’s economic growth and development, so statute to be construed

“liberally for the accomplishment of its purposes.” RCW 49.62.025, .110; CVS Pharmacy, Inc.

v. Brown, Case no. C21-306 MJP, 2021 U.S. Dist. LEXIS 49450 at * 3-4 (W.D. Wash., Mar. 16,

2021) (holding that the “Washington Noncompete Act renders CVS’s noncompete unenforceable

because it requires Brown to ‘adjudicate a noncompetition covenant outside of’ Washington’”).

        Accordingly, the public interest eschews enforcement of a non-compete that may be

illegal, overbroad, excessive, or otherwise unreasonable. A TRO should be entered only when

the plaintiff has met the high burden of showing it is likely to prevail at trial and, in the absence

of a preemptive order preventing the employee from working, the employer will suffer an

immediate harm. Groupon has come nowhere close to meeting this burden to show it is in the

public interest to strip Mr. Shin of his current employment during the pendency of this lawsuit.

The existing TRO altered the status quo, and deprived Mr. Shin of both the right to work and the

rights conferred upon him by the Washington legislature. Preventing a person from engaging in

gainful employment under an overbroad and unenforceable noncompete convenant is contrary to

Illinois’s policy rationale disfavoring these restrictive covenants. See Saban v. Caremark Rx,

LLC, 780 F.Supp.2d 700, 737 (N.D. Ill. April 11, 2011) (holding that “the effect of an injunction

on Saban would result in an unreasonable restraint on trade and competition, which harms

the public interest”).

                                     IV.     CONCLUSION

        Mr. Shin respectfully requests that this Court vacate the TRO.


DATED: November 21, 2021

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